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                         IN THE UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                        MEDFORD DIVISION


JARED NANNEMAN and                              Civil Action No.: 1:19-cv-1243
TONYA NANNEMAN,

               Plaintiffs,
                                                MAGNUSON-MOSS WARRANTY ACT (15
       vs.                                      U.S.C § 2301, et seq.); AND STATE CLAIMS.



FORD MOTOR COMPANY,                             DEMAND FOR JURY TRIAL

               Defendant


                             PLAINTIFFS’ ORIGINAL COMPLAINT
                                    AND JURY DEMAND

       JARED NANNEMAN and TONYA NANNEMAN (hereinafter “Plaintiffs”) file this

Plaintiff’s Original Complaint and Jury Trial Demand complaining of FORD MOTOR

COMPANY. This action is filed for violations of the Magnuson-Moss Warranty Act, 15 U.S.C.

§ 2301. Plaintiffs allege as follows:



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                                              PARTIES

1. At all times material herein, Plaintiffs are residents of Oregon and resides in Klamath

     County.

2. Defendant FORD MOTOR COMPANY (“Ford”, “Defendant”, or “Manufacturer”) is a

     Michigan corporation who conducts business in Oregon and their registered agent is CT

     Corporation System, 780 Commercial St. SE, Ste. 100, Salem, OR 97301.

                                            JURISDICTION

3. Jurisdiction of this Court arises under to 15 U.S.C. § 2310(d), 28 U.S.C. §§ 1331, and the

     doctrine of pendent jurisdiction for the other Oregon claims pursuant to 28 U.S.C. § 1367.

     Plaintiffs seek relief in excess of $50,000.00.

4.   Venue is proper in this District pursuant to 28 U.S.C. § 1391 (b) and (c), because: (i) Defendant

     is actively doing business in this State and subject to personal jurisdiction throughout the State;

     (ii) upon information and belief, Defendant transacts business in the State and in the District

     because it has contracted with residents of the District through their sales with residents of the

     District; (iii) upon information and belief Defendant has committed illegal acts in the District

     by and through its sales and/or have provided defective products to residents of this district,

     and (iv) a substantial part of the events or omissions giving rise to the claim occurred in this

     District.

                                                FACTS

 5. In August of 2017, Plaintiffs purchased a 2017 Ford F350, VIN: 1FT8W3BT7HEC55687 (the

      “Vehicle”) from Lithia Ford of Klamath Falls, Oregon for $71,821.00.




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6. The Vehicle was purchased as a new vehicle, and has had significant nonconformities during

    the manufacturer, defendant Ford’s factory warranty period. Plaintiffs use the Vehicle

    primarily for personal, family and household purposes. Since purchase, the Vehicle has

    encountered an excessive number of defects, including but not limited to ticking noise in the

    engine, burning antifreeze smell, rear view camera malfunction, water collecting inside the

    headlights, rattle from driver’s side rear door, GPS screen comes on by itself, heater controls

    change by themselves, power seat and steering control issues, radio loses preset stations when

    Vehicle shut off, intermittent electrical issues, driver side mirror does not extend, ambient

    light malfunction, and trim issues.. The Vehicle has been repaired at least ten (10) times and

    has been in the manufacturer’s authorized dealer’s shop for an excessive number of days

    (more than one hundred two (102) days according to the shop records). The Vehicle still has

    defects at the current time.

7. Despite confirmation of the nonconformities and repeated lengthy repair attempts, Defendant

    has been unable to correct the nonconformities. These nonconformities substantially impair

    the use, value and or safety of the Vehicle.

8. Despite contacts by Plaintiffs with Ford, Defendant has not been able to resolve Plaintiffs’

    issues with the Vehicle. Despite Plaintiffs informing Ford of the nonconformities and

    requesting Ford to buy back the vehicle, Ford has not offered to buy back the vehicle and has

    left Plaintiffs with a malfunctioning vehicle.

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                               FIRST CAUSE OF ACTION
                          BREACH OF WRITTEN WARRANTY
                      (Pursuant to the Magnuson-Moss Warranty Act)

9. Plaintiffs are consumers, as contemplated by the Magnuson-Moss Warranty Act.

10. Manufacturer is a warrantor and supplier of a consumer product, as contemplated by the

    Magnuson-Moss Warranty Act.

11. Plaintiffs are entitled by the terms of the written warranty provided to them by Manufacturer

    through its authorized dealer to enforce the obligations of said warranty.

12. The warranty provided that Manufacturer would repair or replace defective parts, or take other

    remedial action free of charge to Plaintiffs in the event that the Vehicle failed to meet the

    specification as set forth in the written warranty.

13. The written warranty was the basis of the bargain with respect to the contract for sale executed

    and entered into between Plaintiffs and Manufacturer.

14. The purchase of the Vehicle was induced by the written warranty, upon which Plaintiffs relied.

15. Plaintiffs have honored Plaintiffs’ obligations under the warranty.

16. Manufacturer breached its obligations under the written warranty by failing to reasonably

    repair the Vehicle’s defects after being afforded a reasonable number of repair attempts or a

    reasonable opportunity to cure.

17. Plaintiffs notified Manufacturer of its breach within a reasonable time after discovering it by

    tendering the Vehicle to Manufacturer’s authorized dealer for repair as instructed by

    Manufacturer’s written warranty and by providing written notification to Manufacturer.

18. As a direct and proximate result of Manufacturer’s failure to comply with its written warranty,

    Plaintiffs have suffered damages, including, but not limited to, loss of use, diminished value,

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    incurred and/or needed repair costs, aggravation, and incidental and consequential damages.

    In accordance with 15 U.S.C. §2310(d)(1), Plaintiffs are entitled to bring suit for damages and

    other relief.

19. Pursuant to the MMWA, 15 U.S.C. § 2310(d)(2), Plaintiffs are entitled to recover as part of

   the judgment, costs and expenses of the suit, including attorney's fees based on actual time

   expended. As a proximate result of the misconduct of Defendant as alleged herein, and in an

   effort to protect its rights and to enforce the terms of the agreement as more particularly set

   forth above, it has become necessary for Plaintiffs to employ the legal services of the

   undersigned attorney to prosecute this action. Plaintiffs have incurred and continue to incur

   legal fees, costs and expenses in connection therewith.

20. The amount in controversy of this action exceeds the sum of $50,000, exclusive of interest and

   costs for these claims.

               SECOND CAUSE OF ACTION FOR VIOLATIONS OF THE
                       BREACH OF IMPLIED WARRANTY
                   (Pursuant to the Magnuson-Moss Warranty Act)

21. Paragraphs 1 through 8 above are realleged and hereby incorporated by reference as if fully

    set forth herein, verbatim.

22. The Vehicle purchased by Plaintiffs is subject to an implied warranty of merchantability as

    defined in 15 U.S.C. §2301(7).

23. Manufacturer contracts to sell goods. Manufacturer sells vehicles to purchasers, orders

    component parts, and/or assembles them into final products. They are merchants with respect

    to the goods of the kind sold to Plaintiffs.




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24. The parties’ contract for sale as a matter of law implies that the Vehicle is merchantable,

    because Manufacturer is a merchant with respect to such goods.

25. The implied warranty was breached by Manufacturer because it manufactured a Vehicle of

    insufficient quality. The Vehicle is not fit for the ordinary purpose for which such goods are

    used.

26. The Vehicle has failed to meet Plaintiffs’ reasonable expectations.

27. The Vehicle has not provided dependable transportation, and it has not been trouble-free.

28. The Vehicle would not pass without objection in the trade under the contract description and

    does not conform to the promises or affirmations of fact made by Manufacturer.

29. As a result of the breach of implied warranty by Manufacturer, Plaintiffs are without the

    reasonable value of the Vehicle.

30. As a result of the breach of implied warranty by Manufacturer, Plaintiffs have suffered and

    continue to suffer damages, including those specifically identified in the foregoing

    paragraphs.

31. Plaintiffs request attorney’s fees and show that they are entitled to fees and costs pursuant to

    the fee-shifting provision of section 2310(d) the Magnuson-Moss Warranty Act.

32. In addition to any other relief and as a result of Defendant’s violations this Court should

    rescind the sale and refund Plaintiffs their purchase prices less any reasonable allowance for

    use of the vehicle.

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                THIRD CAUSE OF ACTION FOR VIOLATIONS OF THE
                     OREGON CONSUMER WARRANTY ACT

33. Paragraphs 1 through 8 above are realleged and hereby incorporated by reference as if fully

    set forth herein, verbatim.

34. In the alternative, without waiving any of the other causes of action herein, without waiving

    any procedural, contractual, statutory or common-law right and incorporating all other

    allegations herein to the extent they are not inconsistent with the cause of action pled here,

    Defendant Ford is liable to Plaintiffs for violating the Oregon Consumer Warranty Act under

    the Oregon Uniform Commercial Code. (ORS 72.8010 et seq.).

35. The Vehicle meets the definition of a “good” and/or “consumer good” as defined by ORS

    72.8010(1). Plaintiffs are “buyer[s]” or “retail buyer[s]” as defined by ORS 72.8010(2).

    Defendant Ford is a “manufacturer” as defined by ORS 72.8010(3).

36. Defendant Ford has failed to provide a good or consumer good (the Vehicle) in compliance

    with each applicable warranty. As a result of the violations, this court should require

    Defendant Ford to reimburse Plaintiffs their purchase price less a reasonable charge for

    beneficial use and damages by Plaintiffs.

37. Oregon’s Unlawful Trade Practices Act, ORS 646.608 et seq., prohibits the acts of Defendant,

    in that they represented that the vehicle and/or workmanship was/were of a particular quality

    or standard, which it did not have; that the warranty covered the entire vehicle other than wear

    and tear when it did not; that defects would be repaired at no cost within a reasonable time

    when they were not; and that the vehicle would be repurchased if it was not repaired within a

    reasonable time when it was not.



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38. The acts of Defendant constitute unconscionable commercial practices and the reckless,

    wanton, and willful failure of Defendant to comply with its obligations constitutes unfair or

    deceptive conduct in trade or commerce.

39. Defendant’s wanton and willful violations of the Oregon Unlawful Trade Practices Act entitle

    Plaintiffs to an award of actual damages, incidental costs, reasonable attorney’s fees, and any

    equitable relief the Court deems proper.

40. Plaintiffs should also be awarded his reasonable attorney’s fees under ORS 646.638.

    Plaintiffs are entitled to seek punitive damages under the court as they are proper due to the

    wanton and willful violations of the Oregon Unlawful Trade Practices Act.


              FOURTH CAUSE OF ACTION FOR VIOLATIONS OF THE
                 OREGON UNLAWFUL TRADE PRACTICES ACT

41. Paragraphs 1 through 8 above are realleged and hereby incorporated by reference as if fully

    set forth herein, verbatim.

42. Oregon’s Unlawful Trade Practices Act, ORS 646.608 et seq., prohibits the acts of Defendant,

    in that they represented that the vehicle and/or workmanship was/were of a particular quality

    or standard, which it did not have; that the warranty covered the entire vehicle other than wear

    and tear when it did not; that defects would be repaired at no cost within a reasonable time

    when they were not; and that the vehicle would be repurchased if it was not repaired within a

    reasonable time when it was not.

43. The acts of Defendant constitute unconscionable commercial practices and the reckless,

    wanton, and willful failure of Defendant to comply with its obligations constitutes unfair or

    deceptive conduct in trade or commerce.


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44. Defendant’s wanton and willful violations of the Oregon Unlawful Trade Practices Act entitle

    Plaintiffs to an award of actual damages, incidental costs, reasonable attorney’s fees, and any

    equitable relief the Court deems proper.


              FIFTH CAUSE OF ACTION FOR VIOLATIONS OF THE
                          OREGON LEMON LAW ACT
45. Paragraphs 1 through 8 above are realleged and hereby incorporated by reference as if fully

    set forth herein, verbatim.

46. Defendant Ford’s acts, directly and through their authorized dealers, of failing to conform the

    Vehicle to Ford’s express warranty is a violation of ORS 646A.400 et seq. More specifically:

      A. Defendant Ford has been unable to conform the Vehicle despite notice and reasonable

          attempts by its agent; pursuant to ORS 646A.404.

      B. Defendant Ford, despite notice from consumer that the Vehicle was a lemon, has not

          engaged in any alternative dispute resolution or made available any of the remedies

          outlined in ORS 646A.408.

47. Plaintiffs would not have purchased the Vehicle from Lithia Ford had they known that they

    would not have a vehicle that conformed to Ford’s express warranties. Further, Plaintiffs

    would not have purchased the vehicle had they known that they would be deprived of their

    vehicle for more than 102 days and that it would still not be fixed.

48. As a result of the violations, and pursuant to ORS 646A.404, this court should rescind the sale

    and refund Plaintiffs their purchase price, in the amount of $71,821.00 less any reasonable

    allowance for the Plaintiffs use of the vehicle. In addition, pursuant to ORS 646A.412,

    Plaintiffs should be awarded an additional $50,000, as Defendant did not act in good faith to


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    resolve this dispute informally and wholly ignored the safety issue. Plaintiffs should also be

    awarded their reasonable attorney fees under ORS 646A.412.

                                           PRAYER


WHEREFORE, Plaintiffs request that the Defendant be cited to appear and answer in this action

and upon final trial of this cause, the Court issue judgment that Plaintiffs have and recover against

Defendant as follows:


       1) On their first claim for relief against Defendant for rescission of the sale of the Vehicle

           or in the alternative damages in an amount to be determined by the jury, costs and

           reasonable attorney fees, prejudgment interest at 9% and their costs and disbursements

           herein or such other relief as the Court may deem appropriate;

       2) On their second claim for relief against Defendant for rescission of the sale of the

           Vehicle or in the alternative damages in an amount to be determined by the jury, costs

           and reasonable attorney fees, prejudgment interest at 9% and their costs and

           disbursements herein or such other relief as the Court may deem appropriate;

       3) On their third claim for relief against Defendant for rescission of the sale of the Vehicle

           or in the alternative damages in an amount to be determined by the jury, costs and

           reasonable attorney fees, punitive damages, prejudgment interest at 9% and their costs

           and disbursements herein or such other relief as the Court may deem appropriate;

       4) On their fourth claim for relief against Defendant for rescission of the sale of the

           Vehicle or in the alternative damages in an amount to be determined by the jury, costs

           and reasonable attorney fees, prejudgment interest at 9% and their costs and

           disbursements herein or such other relief as the Court may deem appropriate;


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      5) On their fifth claim for relief against Defendant for rescission of the sale of the Vehicle

         or in the alternative damages in an amount to be determined by the jury, an additional

         amount not to exceed $50,000 pursuant to 646A.412, costs and reasonable attorney

         fees, prejudgment interest at 9% and their costs and disbursements herein or such other

         relief as the Court may deem appropriate;

      6) For such other relief that the Court deems appropriate.

        PLAINTIFFS HEREBY MAKES THEIR DEMAND FOR JURY TRIAL

DATED: August 8, 2019                   Respectfully submitted,

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